












Dismissed and Memorandum Opinion filed August 4, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00631-CR

____________

&nbsp;

EDWARD BUZZA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 180th District Court


Harris County, Texas

Trial Court Cause No. 1294219

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to theft.&nbsp; In accordance with
the terms of a plea bargain agreement with the State, the trial court sentenced
appellant on February 10, 2011, to confinement for twenty years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; No motion
for new trial was filed.&nbsp; Appellant filed a pro se notice of appeal on July 5,
2011.&nbsp; We dismiss the appeal. 

A defendant’s notice of appeal must be filed within thirty
days after sentence is imposed when the defendant has not filed a motion for
new trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp;
A notice of appeal which complies with the requirements of Rule 26 is essential
to vest the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981
S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected,
a court of appeals does not obtain jurisdiction to address the merits of the
appeal.&nbsp; Under those circumstances it can take no action other than to dismiss
the appeal.&nbsp; Id.

In addition, the trial court entered a certification of the
defendant’s right to appeal in which the court certified that this is a plea
bargain case, and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court’s certification is included
in the record on appeal.&nbsp; See Tex.
R. App. P. 25.2(d).&nbsp; The record
supports the trial court’s certification.&nbsp; See Dears v. State, 154
S.W.3d 610, 615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Seymore and Boyce.

Do Not Publish — Tex. R. App. P. 47.2(b).





